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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND



  STATE OF CALIFORNIA, et al.,

                       Plaintiffs,

     v.
                                                 No. 1:25-cv-00208-JJM-PAS
  UNITED STATES DEPARTMENT OF
  TRANSPORTATION, et al.,

                       Defendants.




                                     EXHIBIT 2
                      Declaration of Sharon Kershbaum
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                          DECLARATION OF SHARON KERSHBAUM

           I, Sharon Kershbaum, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746

  that the following is true and correct:

           1.     I am over the age of 18 and have personal knowledge of all the facts stated herein,

  except to those matters stated upon information and belief; as to those matters, I believe them to

  be true. If called as a witness, I could and would testify competently to the matters set forth

  below.

           2.     I currently serve as Director of the District of Columbia Department of

  Transportation ("DDOT"). My job duties include providing executive leadership and strategic

  direction for the diverse activities of the agency, including building and maintaining

  transportation infrastructure, public space permitting, micromobility policy and oversight, urban

  forestry, and traffic engineering and safety. The agency functions as the State Department of

 Transportation (State DOT) for the District of Columbia, and as such is the recipient of, and is

 responsible for administering, approximately $200 million a year in Federal-aid formula grant

 funding, as well as additional amounts of discretionary and competitive grants that may be

 awarded to the District of Columbia by the U.S. Department of Transportation ("USDOT").

           3.    I have been employed by DDOT since October 17, 2021, and I have served as

 Director since October 2, 2023. Before serving at DDOT, I served as Chief Operating Officer in

 the District's Department of Human Services and as the Deputy Assistant Secretary for

 Management and Budget at the United States Department of the Treasury.

           4.    DDOT was established by The District Department of Transportation

 Establishment Act of 2002 as a cabinet-level agency responsible for the management of

 transportation infrastructure and operations (D.C. Law 14-137 [2002]).




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          5.         DDOT is responsible for the feasibility, planning, environmental review, design,

  construction, and construction inspection of roadways, bridges, culverts, trails, structures, and •

  other transportation infrastructure in the District of Columbia. For example, DDOT implements

  improvements to the transportation infrastructure network of the Anacostia Waterfront Initiative,

  a 30-year program focused on projects that transform the Anacostia River corridor. DDOT is

  also responsible for the inspection and maintenance of more than 235 bridge assets and ancillary

  structures, including compliance with federal standards and reporting requirements.

          6.        DDOT receives several hundred million dollars annually in federal funding from

  USDOT, primarily from the Federal Highway Administration ("FHWA"). In federal fiscal year

  2024, DDOT received approximately $275 million in total funding from USDOT, including

  approximately $268 million in formula funding from FHWA. This ongoing federal investment is

  essential to maintaining, improving, and modernizing the District of Columbia's transportation

  infrastructure.

          7.        DDOT uses funding from USDOT for a diverse array of projects in the District of

  Columbia. Primarily, these projects aim to improve safety and mobility for users of the

  transportation system and to maintain a state of good repair of bridges and roadways.

          8.        In its pursuit of safety improvements, DDOT has identified certain corridors and

  intersections where a disproportionate number of severe crashes occur-known as the High

  Injury Network-and is prioritizing safety improvements in these areas. Among the corridors on

  which DDOT is planning to use federal funding to make larger-scale safety improvements are: M

  Street NW ($6.5 million), Alabama Avenue SE ($6.2 million), East Capitol Street ($34 million),

 and Wheeler Road ($20 million). Federal grants support many additional ongoing and planned

 projects along these dangerous corridors, including spot improvements in residential




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  neighborhoods and near schools that have been requested by residents. These and other projects

  would face significant delays and shortcomings should federal funding be disrupted or lost.

  Continued funding for High-Injury Network improvement projects is vital not only to ensuring

  safe transport but to fostering a welcoming environment for businesses, visitors, and residents.

          9.     In addition to short- and long-term safety projects that rely on USDOT funding,

  projects targeting the rehabilitation of bridges in the District are heavily dependent on federal

  dollars. Among these are major rehabilitations planned or already in progress for the I-395

  Northbound Bridge ($110 million) and Theodore Roosevelt (I-66) Bridge ($161 million). These

  river crossings between the District of Columbia and Northern Virginia are critical for

  transporting commuters, goods, and visitors in and out of our nation's capital. Other state of

  good repair investments that DDOT plans to carry out with federal funding include: the Benning

  Road Bridges and Transportation Improvement Project ($174 million), as well as ongoing annual

  investments in roadway resurfacing of National Highway System routes ($23 million); repairing

  or rehabilitating a network of more than 75,000 streetlights ($20 million), and repairing,

  rehabilitating, or replacing a system of more than 1,750 traffic signals ($28 million).

         10.     I have reviewed and am aware that on April 24, 2025, Secretary of Transportation

  Sean Duffy issued a letter to all recipients of US DOT funding stating that recipients' "legal

 obligations require cooperation generally with Federal authorities in the enforcement of Federal

 law, including cooperating with and not impeding U.S. Immigration and Customs Enforcement

 (ICE) and other Federal offices and components of the Department of Homeland Security in the

 enforcement of Federal immigration law." This letter warned that "failure to cooperate .. .in the

 enforcement of Federal law" will "jeopardize your continued receipt of Federal financial

 assistance from DOT and could lead to a loss of Federal funding from DOT."




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          11.     It is not evident from the materials I have reviewed what USDOT intends to

  include within the broad phase, "cooperating with ... U.S. Immigration and Customs Enforcement

  (ICE) and other Federal offices and components of the Department of Homeland Security in the

  enforcement of Federal immigration law." To date, I have not identified any limits there may

  be-if any-to "cooperating with ... enforcement of Federal immigration law."

          12.     Because DDOT is responsible for building and maintaining the District of

  Columbia's transportation infrastructure, DDOT lacks any capacity to enforce civil immigration

  law.

          13.     DDOT does not have any other appropriation in its budget that could cover the

  loss of the grants discussed above. If DDOT cannot access federal funds, DDOT will not have

  funds to immediately cover the critical programs funded by USDOT grants. This, in turn, will

  result in the cancellation, or at a minimum, the delay of critical public works projects to improve

  transportation infrastructure in the District of Columbia.

          14.     Without access to the USDOT awards, DDOT cannot commit funding for

  furtherance of all its planned projects. Any pause or termination in federal funding would put

  some projects on indefinite hold while others would be cancelled outright. This would have

  enormous consequences for District residents' and visitors' ability to safely and efficiently travel

  across the District, even if funding were restored at a later date.



         I declare under penalty of perjury that the foregoing is true and correct.


                                 Executed this     ~ day of July 2025, in Washington, DC.

                                 Sharon Kershbaum




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